                                           Case 15-07000-JJG-7A                  Doc 20 FiledFORM 1
                                                                                                07/26/17  EOD 07/26/17                                      12:32:24          Pg 1 of Page
                                                                                                                                                                                      1 No:        1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES

Case No.:                        15-07000                                                                                                                     Trustee Name:                        Randall L. Woodruff
Case Name:                       JONES, CHARLES PAUL AND JONES, ROBIN LYNNE                                                                                   Date Filed (f) or Converted (c):     08/18/2015 (f)
For the Period Ending:           06/30/2017                                                                                                                   §341(a) Meeting Date:                09/25/2015
                                                                                                                                                              Claims Bar Date:                     01/26/2016
                                       1                                               2                               3                                4                        5                                       6

                       Asset Description                                          Petition/                  Estimated Net Value                   Property                Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                                          Unscheduled                 (Value Determined by                   Abandoned               Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                       Value                           Trustee,                  OA =§ 554(a) abandon.          the Estate
                                                                                                           Less Liens, Exemptions,
                                                                                                              and Other Costs)

Ref. #
1        residence at 2416 Mimosa Lane, Anderson, IN                               $175,000.00                                     $0.00               OA                             $0.00                                          FA
         46011 consisting of 2 bed; 2 bath; purchased
         11/11 for $175,000
2        condo at Portamar 501, Puerto Vallarta, Jalisco,                          $160,000.00                              $144,500.00                                               $0.00                                  $160,000.00
         Mexico
3        checking/savings                                                               $400.00                                    $0.00               OA                             $0.00                                          FA
4        beds; sofa; dinette; televisions; chairs; lamps;                             $2,500.00                                    $0.00               OA                             $0.00                                          FA
         drerssers; misc. household furniture, appliances,
         and electronics, all used Location: 2416 Mimosa
         Lane, Anderson IN 46011
5        books; pictures; household decor Location: 2416                                $200.00                                    $0.00               OA                             $0.00                                          FA
         Mimosa Lane, Anderson IN 46011
6        wearing apparel and personal effects Location:                                 $100.00                                    $0.00               OA                             $0.00                                          FA
         2416 Mimosa Lane, Anderson IN 46011
7        wedding rings; costume jewelry                                                 $400.00                                    $0.00               OA                             $0.00                                          FA
8        401k/retirement from former employment                                       Unknown                                      $0.00               OA                             $0.00                                          FA
9        pension/retirement from former employer                                      Unknown                                      $0.00               OA                             $0.00                                          FA
10       2013 Toyota Rabb 4 (leased)                                                       $0.00                                   $0.00               OA                             $0.00                                          FA
11       time share at Bliss Resorts                                                  Unknown                                      $0.00               OA                             $0.00                                          FA


TOTALS (Excluding unknown value)                                                                                                                                                                       Gross Value of Remaining Assets
                                                                                  $338,600.00                               $144,500.00                                                $0.00                                 $160,000.00



Major Activities affecting case closing:
 05/01/2017      Trustee still trying to employ broker to sell condo.
 06/01/2016      Trustee waiting on sales agent contract to expire so he can enter into contract with different sales agent. Contract expires 07/23/2016.


Initial Projected Date Of Final Report (TFR):               03/31/2017                          Current Projected Date Of Final Report (TFR):               03/31/2018               /s/ RANDALL L. WOODRUFF
                                                                                                                                                                                     RANDALL L. WOODRUFF
